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Qherron Marie : Phillips
FCI [,7aseca #45209-424                                                         APR 1? 201?
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P0 Box 1731
l,Iaseca MN 56093
                                                                         .'-IH8Ut'oPs,R[Y13U*,
                  United States   District Court Northern District Illinois
                                               Eastern Division
Cherron lhrie Phillips
      Peti tioner/Cornplainant                                   case   No.:   t7-cv41338
                                                                            LzL2-cx-872-t
V.

I.]NITED STATES OF MERICA,                                       Bill for An Accounting
JOHN   orJANE DOE, 1-99                                         Local Rule 54.1
       Respondent ( s ) /0ef endant   (s   )
                                                   Petition
       I    Cherron }4arie   Phillips, herein as petitioner/complainant                move    the court
for an accounting of      any payment, conveyance,              transfer, assignment, or delivery
of property interest      made   in faith to the courts registry, or under control
                                      good

of any officer of the United States District Court Northern District Illinois
Eastern Division submitted in the adjudicated case/account 1:12-cr-872-L.
      Under Local Rule 54.1'hithin 30 days of the entry of a judgment allowing

cost the prevailing party shall file a bill of cost w'ith the clerk and serve
a copy of the bill on each adverse party."
      The Act of March 24, L87Lr 17 Stat 1, ch.2 states at 5798 "at each
      regular session of any court of the United States the clerk shall
      present to the court an accounting of all moneys remaining therein,
      or subjeet to its order, stating in detail in wtrat causes they are
      deposited, and in vrtrat causes payments have been made; and said account
      and vouchers Lhereof shall be filed in the court."

                                               Statement   of   Fact
       On    or   around November   9, 20t2, a security          was issued by the United States
District Court Northern District Illinois               Eastern Division and being traded on
public     exchanges under C.U.S.I.P numbers unknown               at this time.     The alleged claim
founding the security        is styled INDICILIII{T, lz!2-cx-872-t             and   all its   alpha-
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numeric   variations, claiming duty, obligation or right of action                upon     CHERRON

I'IARIE PHILLIPS     in favor of the UNITED STATES 0F AI"IERICA v*rich cites authorities
for rights not authorized by law.
      On November          19, 20L2, conrplainant accepted the offer to perform issued
by the court and return for performance under offered judicial                  powers.

      Prior to the jtr€Tmt in this case complainant                 caused instruments, obligations
of the United States,         pledged   in
                                      faith with the courts iegistry and the
                                              good
clerk of court on account of the United States of America, in lieu of surety,
for all purposes of the obligations of Cherron Marie:Phillips.
      Section 995 of the Act of March 24, 187L, 17 Stat 1 states:
      "A11 moneys paid          court of the United States, or received by
                                into   any
      the officers thereof, in any cause pending or adjudicated in such court,
      shall be forthwith deposited with the Treasurer, an assistant treasurer,
      or a designated depositary of the United States, in the name and to the
      credit of such court: Provided, That nothing herein shall be construed
      to prevent the delivery of any such money upon security, according to
      agreement of parties, under the direction of the court."

      The     clerk of court     became      the acceptor   of   those instruments and agreed
to be primarily responsible for its             payment   or performance. That the courts
acceptance  of these i-nstruments, in lieu of personal surety, relieved complainant
of liability as surety, and to rernain left at large."The acceptance of such
United States bonds         in lieu of surety or sureties required by law shall             have

the same force and effect as individual or corporate sureties, or certified
checks, bank drafts, post office money orders, or cash,              for the penalty or
amount   of   such penal bond." Section         1320 Revenue Act of. t9L9; I,lc,Govern v. United

srares    272   E.   262   (lEh cLr. Lglt)
                                                Parties
      Petitioner/Complainant: (Under Habeas Corpus) Cherron Marie:phillips,                          a

flesh and blood natural         woman,   is   wrongly being held as surety      to   and   for   a
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cesti que trust.     CHERRON     MARIE PHILLIPS      is
                                                 artificial organization, believed
                                                          an
to be some sort of trust resulting from certain acts and omissions of the United
States and its related co-venture parties with a domicile in the District of
Columbia operating under identifier XXX-XX-XXXX. Complainant declares she is

a citizen of the Illinois state. Illinois state being one of the states of the
Republic of the forty-eight union states.
       Respondent(s )/Oefendant(s) : UNITED STATES OF AMERICA is not the United

States, nor the    UNITED STATES,        but appears to be a
                                                           a private party making some

sort of private claim absent proof of contract or obligation being known to
all parties i,trich is not of record. JOHN or JANE DOE 1-99, are those unloown
making claims absent       proof of contract or obligation.
                                               Equity
        Petitioner claims that        CHffiRON I"IARIE    PHILLIPS, an   arti-ficial person,         a
utility wLrich c€I.ry with it certain identifiers and agreements with the commercial
for profit federal corporation. This construction was created for specific
PurPoses which    beneflt its constructors. It also provides protection                      from
lawless acts    of its constructors, agents and instrumentalities               upon    CHERRoN MARIE

PHILLPS as     well as her labor, private equity which have              been taken     for    value,/
as value, a fungible commodity          in support and use by the Unj-ted States federal
corporation    in its    operation    by its agents, through instrumentalities without
fuII   informed consent, under non-disclosed terms.
        Petitioner claims that. CHERRON        I"IARIE PHILLIPS   appears    to be an entity
associated with a       trust   number   in places   under admlralty contract to be
determined before       or at trial   because such contract       is not fully     known       to her
and she reserved.the conmon law           for relief.
        Petitioner claims the Social Security Trust Agreement/Contract and Alien
Property Custodian      Title    50 Appendix SSZ,     g,   32 set up emergency conditions             and

that the United States operates under bankrupty rules uponhn                  wri-ttrotr.t   1s   conrsserct.

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           Giiplainatltrein, under habeas corpus, a flesh and blood natural         woman,

     operates as Trustee Cherron Marie:Phillips, and as Beneficiary C,herron Marie:
     Phillips for the Trust     known as CHRRON I"IARIE PHILLIPS    with social security
     identifier   and account number XXX-XX-XXXX.

           Petitioner claims she has been misidentified intent,ionally by a group
     acting in conspiracy.
           Petitioner claims she has been wrongly identified as the Trust, the
     artificial   person   CHBRON I'IARIE   PHILLIPS, by federal   officers in order that
     they may steal her identity     for their private gain and hold her to iIIegaI         and

     involuntary service in satisfaction of a debt.
           Conrplainant moves    this court for the following:
           i)     an accounting    of all payments, conveyance,      transfer, assignmenL or
                  delivery of    property interest made in good      faith to the courts registry
                  or clerk of courtl
           ii)    subpoena    for bill of cost, under Oath, against the      LINITED STATES OF
                  AMB.ICA and those making  claims not joined in the IMICTIvIEM to
                  offset any remaining balance in favor of the United States of America
                  on behalf of the Trust, CHffi.RON MARIE PHILLIPS;
           iii)   that an injuction issue against the FEDERAL BUREAU 0F PRISONS from
                  further falsification and atternpts to collect a debt against
                  complainant, and that complainant be released and discharged from
                  liability inrnediately on said obligation;
            iv)   that complainant have such other, further and general relief as
                  the nature of her case may require.
           WHEREFORE,   eomplainant moves      this court for Bill of   An Accounting based
     on the foregoing on case/account 1:12-cr-872-L arrd all transactions relating
     to or growing out of the     same.
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                                             Verif icat,ion
            ICherron Marie:Phi1lips declare under penalty of perjury under the laws
     of the United States of America that I have first hand knowledge hereto and to
     the best of my }crowledge and belief all matters are true and correct. Executed
     this   ApriLta,zot7.                                nL*_)*@
                                                      By!--tu

                                                             A11 Rights Reserved

                                            Acknowledgement
            On this date in Waseca Minnesota, Cherron Marie:Phillips who is known
     and identified to me, appeared and executed the foregoing of her own free will
     duly affi                Ity of perjury. Done this April 13, 2017
                                          CASE iriAii;itIi
                                        ,'or:u#                  waseca   sraff
                                                e7, i$t:ttr
                 TO ADMINISTER O,qTHS   (18 USC 40$4]



                                    Certifieate of Servlce
           This is to certify that I have served a true and correct copy of the
     foregoing Bill For An Accounting to the following addresses by placing the
     samein a sealed envelope bearing sufficient. postage for delivery via United
     States Postal Service by legal mail provided         WasCsq on April 1? ,^20L7.
                                                   fiOy'L
                                               Bv(-Uu4 t *r4ho**
                                                   AII Rights Reserved 4 'r r''
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     UNITED STATES DISTRIGT COURT NDIL
     At,tn: Clerk   of the Court                      Nathan D. Stump AUSA
     219 South Dearborn                               9 ExecuLive Drive
     Chicago, Illinois 60604                          Fairview Heights      Illinois   62208
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